Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 1 of 51   1




     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                             MIAMI DIVISION
                              CASE NO. 18-cv-60788-JEM
     3

     4     SPRINT COMMUNICATIONS, INC.,
                                  INC.,

     5           Plaintiff/Counterclaim Defendant,

     6           vs.

     7                                                     Miami, Florida
                                                           April 15, 2022
     8     STEPHEN CALABRESE, as an individual,            Pages 1-51
           NEXTEL, INC.,
                   INC., d/b/a NEXTEL WORLDWIDE,           9:18 a.m. - 10:35 a.m.
     9     RETROBRANDS USA LLC,
           JEFFREY KAPLAN, as an individual, and
    10     NEXTEL WORLDWIDE MOBILE, INC.,
                                    INC.,

    11          Defendants/Counterclaimants.
           _______________________________________________________________
    12
                                 TRANSCRIPT OF JURY TRIAL
    13                                    VOLUME 7
                           BEFORE THE HONORABLE JOSE E. MARTINEZ
    14                         UNITED STATES DISTRICT JUDGE

    15     APPEARANCES:

    16     FOR THE PLAINTIFF/COUNTERCLAIM DEFENDANT:
                                   McGuireWoods, LLP
    17                             BY: BRIAN C. RIOPELLE, ESQ.
                                   BY: LUCY J. WHEATLEY, ESQ.
    18                             BY: AMANDA L. DeFORD, ESQ.
                                   800 East Canal Street
    19                             Richmond, Virginia 23219

    20     FOR THE DEFENDANTS/COUNTERCLAIMANTS:
                                   Erickson Kernell IP
    21                             BY: JAMES
                                        JAMES J. KERNELL,
                                                  ERNELL, ESQ.
                                   8900 State Line Road
    22                             Suite 500
                                   Leawood, Kansas 66206
    23
                                   Lee & Amtzis, PL
    24                             BY: WAYNE SCHWARTZ, ESQ.
                                   5550 Glades Road
    25                             Boca Raton, Florida 33431



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 2 of 51   2




           1    REPORTED BY:        DAWN M. SAVINO, R.P.R., C.R.R.
                                    Official Federal Court Stenographer
           2                        400 N. Miami Avenue, 10S03
                                    Miami, Florida 33128
           3                        Telephone: 305-523-5598
                ______________________________________________________________
09:18:00   4               (Court called to order)

09:18:03   5               THE COURT:    Be seated, please.

09:18:06   6               All right.    First, I think we need to deal with the

09:18:10   7    Plaintiff's motion for judgment as a matter of law that was

09:18:13   8    filed in the early morning hours.       I've read the Defendants'

09:18:20   9    motion for reconsideration on the Court's oral rulings on

09:18:23 10     Plaintiff's ore tenus motion for judgment as a matter of law,

09:18:27 11     the Court is fully advised as to the premise.         In my order for

09:18:31 12     reconsideration, I held that the record before the Court at

09:18:35 13     summary judgment supported that one, Defendants had ongoing

09:18:40 14     business relationships with distributors; two, that Plaintiffs

09:18:43 15     knew about Defendants' relationships and contracts; three, that

09:18:46 16     Plaintiff intentionally interfered with those relationships and

09:18:50 17     four, the Defendants suffered damages.        I never made an

09:18:53 18     expressed finding that Defendants had legally satisfied each of

09:18:57 19     those elements.     In fact, I denied both Plaintiff's and

09:19:00 20     Defendants' motions for summary judgment as to that claim.

09:19:03 21                The order on Plaintiff's motion for reconsideration

09:19:08 22     focused on the portion of a claim for tortious interference that

09:19:12 23     was most unclear on the record whether the Plaintiff alleged

09:19:16 24     interference was unjustified.       While the order focused on

09:19:19 25     justification, the Court ultimately ruled that the summary



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 3 of 51   3




09:19:23   1    judgment was denied, not granted in part and denied in part,

09:19:26   2    meaning that the Defendants needed to have presented evidence to

09:19:31   3    the jury that would have allowed the jury to find, based on a

09:19:35   4    preponderance of the evidence that one, there existed a business

09:19:37   5    or contractual relationship between Defendant and a third-party;

09:19:42   6    two, Sprint knew about that relationship; three, Sprint

09:19:46   7    intentionally and unjustifiably interfered with that

09:19:48   8    relationship, and four, Defendants were damaged by that

09:19:53   9    interference.     I cite to Ethan Allen versus Georgetown Manor,

09:20:01 10     647 Southern 812, Page 814, Florida case in 1994.          Defendant has

09:20:02 11     failed to do so.

09:20:05 12                I also find the Defendant knew that they must have

09:20:09 13     presented all of the elements of their tortious interference

09:20:13 14     claims to the jury based on Defendants' proposed jury

09:20:17 15     instruction 44, which provided that, quote, to prevail on a

09:20:20 16     claim for tortious interference with contractual or advantageous

09:20:25 17     business relationships, Defendants must establish by a

09:20:27 18     preponderance of the evidence one, the existence of a contract

09:20:32 19     or business relationships; two, Sprint had knowledge; three,

09:20:37 20     Sprint intentionally and unjustifiably interfered; four,

09:20:39 21     Defendants suffered damages.

09:20:43 22                Accordingly, Defendant's motion for reconsideration is

09:20:47 23     denied.    The Court's oral rulings on Plaintiff's ore tenus

09:20:50 24     motion for judgment as a matter of law stands.         Defendants did

09:20:54 25     not present any evidence that one, any third parties entered



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 4 of 51   4




09:20:57   1    into a business or contractual relationship or three, that

09:21:02   2    Sprint intentionally and unjustifiably interfered with those

09:21:05   3    relationships nor four, that the Defendant suffered damages as a

09:21:07   4    result of Sprint's interference.

09:21:12   5               Obviously I did not read the entire proposed

09:21:16   6    instruction, I shortened each of the elements, but the point is

09:21:20   7    that in the proposed instruction, you understood that the

09:21:25   8    element required that you prove to the jury.

09:21:36   9               Okay.    Where are we now then?    I think that we need to

09:21:40 10     start talking about the instructions.        First of all, did you all

09:21:46 11     get the jury -- the verdict form, the proposed verdict form, we

09:21:50 12     inadvertently left out of the package that was given to you.

09:21:53 13     It's a lot shorter than yours, of course so are the

09:22:05 14     instructions.      As a matter of fact, so is the Bible.

09:22:09 15                Jose, do you want to give me my instructions so I can

09:22:13 16     go through them?      I think I might want them in here.      Okay.

09:22:18 17                I see you've moved to the back chair with --

09:22:21 18                MR. RIOPELLE:    I just go where I'm told, Your Honor.

09:22:26 19                THE COURT:    With Dan.   To the side in the back with

09:22:31 20     Dan.   Okay.    I've been there, done that.     In tobacco litigation,

09:22:34 21     Steve Zack and I had the kids' table.        We sat in the back of the

09:22:44 22     room and acted up.      But we had fun and we got paid.      Actually, I

09:22:50 23     shouldn't say we had fun, it's no fun watching the judge beat

09:22:55 24     you up.    But goes with the territory.

09:23:08 25                I apologize for the delay.      My law clerks were in a



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 5 of 51   5




09:23:13   1    reception for outgoing interns that is taking place right now,

09:23:25   2    and I was dealing with the motion for reconsideration, whatever

09:23:28   3    it was called.

09:23:39   4               Have there been any other filings since 1:00 in the

09:23:42   5    morning that I don't know about right now?

09:23:42   6               MS. DeFORD:     No, Your Honor.

09:23:44   7               MR. SCHWARTZ:     Not from the defense.

09:23:48   8               THE COURT:    All right.   What I propose to do is I have

09:23:53   9    copies of the proposed jury instructions from both parties, from

09:23:59 10     each party, and I propose to go through my proposed final jury

09:24:03 11     instructions, tell you where they came from.         What will be given

09:24:07 12     to the jury will not include any of the bold print on either any

09:24:10 13     of the pages.     That's for your information as to where it came

09:24:12 14     from.

09:24:20 15                Page 1 is obviously the title page.

09:24:27 16                Page 2 is the introductory part of the pattern jury

09:24:29 17     instruction, 3.1.

09:24:34 18                Hearing no objection, I'll move to Page 3 which is

09:24:40 19     proposed jury instruction Number 19, and it is pattern jury

09:24:45 20     instruction 3.2.2, which I believe is standard and has no

09:24:46 21     changes in it.

09:24:52 22                Hearing no objection, I move to Page 4, which is the

09:24:56 23     Eleventh pattern jury instruction 3.3, and I think actually was

09:24:59 24     proposed as Number 20.

09:25:01 25                MS. DeFORD:     Your Honor, we have no objection to that.



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 6 of 51    6




09:25:04   1    We would just ask in the second sentence where it starts with

09:25:07   2    "evidence includes the testimony of" --

09:25:08   3               THE COURT:    Yes.

09:25:10   4               MS. DeFORD:     That the additional pieces of evidence,

09:25:14   5    the stipulated facts and the requests for admission also be

09:25:18   6    named so there's no confusion between the statement that what

09:25:22   7    lawyers say is not evidence, since Mr. Riopelle --

09:25:24   8               THE COURT:    Yeah, I agree and I don't have any problem

09:25:25   9    with that.

09:25:26 10                MR. SCHWARTZ:     No issue.

09:25:28 11                THE COURT:    Okay.   So I will say "it includes the

09:25:33 12     testimony of witnesses, stipulations between the parties".             I

09:25:36 13     think I mentioned stipulations somewhere else, don't I?           I

09:25:40 14     should.    There is a stipulation, but we'll see.       If we don't

09:25:43 15     mention it, I'll consider putting in a special one.          But I think

09:25:48 16     it should be here too.      So it should be "testimony of witnesses,

09:25:56 17     stipulations between the parties, admissions of the parties on

09:26:03 18     the record," because there were admissions that weren't brought

09:26:06 19     before them I don't think we're considering, correct?          We're

09:26:10 20     only talking about admissions that were brought to their

09:26:10 21     attention.

09:26:10 22                MS. DeFORD:     That's right.

09:26:15 23                THE COURT:    Okay.   "Admissions presented in open court.

09:26:19 24     Presented in court.      And the exhibits admitted."

09:26:23 25                Anything else need to go there?



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 7 of 51    7




09:26:24   1               MS. DeFORD:     No, Your Honor.       Thank you.

09:26:25   2               MR. SCHWARTZ:     No.

09:26:31   3               THE COURT:    No, all right.      We'll put that.

09:26:34   4               Page 5, this is pattern jury instruction 3.4,

09:26:47   5    credibility of witnesses.          Page 5, impeachment accepted as

09:26:52   6    modified to reflect the evidence entered at trial that Defendant

09:26:54   7    Calabrese is a convicted felon, and that the Defendant

09:26:59   8    Calabrese's felony conviction did not involve dishonesty or

09:27:04   9    false statement as far as we know.          Eleventh Circuit pattern

09:27:12 10     jury instruction 3.5.2.         I think that that is a fair

09:27:17 11     modification of the 3.5.2.          All right?

09:27:17 12                MR. SCHWARTZ:     Your Honor.

09:27:18 13                THE COURT:    Yes.

09:27:20 14                MR. SCHWARTZ:     Just for the record, we're just going to

09:27:22 15     indicate an objection to that consistent with our prior

09:27:23 16     objection.

09:27:26 17                THE COURT:    Understood.      Not a problem.      Overruled.

09:27:31 18                All right.    We go to Page 7, responsibility for proof.

09:27:36 19     This is pattern jury instruction 3.7.1.           I don't think there's

09:27:39 20     any change.

09:27:44 21                Page 8 is actually -- I think it's proposed jury

09:27:48 22     instruction Number 24.      I don't remember if we made any change

09:27:50 23     from that, but I don't think so.

09:27:51 24                MS. DeFORD:     Your Honor.

09:27:52 25                THE COURT:    Yes.



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 8 of 51   8




09:27:55   1               MS. DeFORD:     I apologize.     So there were a couple of

09:27:59   2    changes I believe based off the Court's ruling on the JMOL

09:28:01   3    yesterday taking out the Defendants -- most of the Defendants'

09:28:06   4    affirmative defenses.      To preserve for the record, I would just

09:28:07   5    like to note our objection to preponderance of the evidence

09:28:10   6    being used as the standard for abandonment.

09:28:10   7               THE COURT:    Understood.

09:28:13   8               MS. DeFORD:     Thank you.     And then in addition to that,

09:28:18   9    we would propose changing some of the pronouns within the

09:28:23 10     instruction to be consistent with the fact that there are plural

09:28:25 11     Defendants.    There are some places where --

09:28:26 12                THE COURT:    Okay.   Tell me where.

09:28:29 13                MR. RIOPELLE:     So in the third line, it says

09:28:32 14     "Defendants can prevail in this case if it."

09:28:33 15                THE COURT:    If they.

09:28:35 16                MS. DeFORD:     If they.     And then the "S" on prove would

09:28:38 17     need to come out.

09:28:40 18                THE COURT:    Okay.   So it would read, the third line,

09:28:43 19     "Defendants can prevail in this case if they prove their

09:28:47 20     affirmative defenses."      Defense, affirmative defense.

09:28:49 21                MS. DeFORD:     It's a defense.

09:28:51 22                THE COURT:    "By a preponderance of the evidence," and

09:28:52 23     that is over your objection.

09:28:54 24                Okay.   What else?

09:28:58 25                MS. DeFORD:     We would like the portion of our



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
     Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 9 of 51   9




09:29:00   1    affirmative defenses that starts with "truth of the public

09:29:03   2    statements," all the way through the end to be taken out as well

09:29:07   3    as "there are no claims remaining from the Defendants to which

09:29:11   4    those affirmative defenses were pled."

09:29:14   5               THE COURT:    So you want to delete the third line of the

09:29:16   6    second paragraph?

09:29:16   7               MS. DeFORD:     Yes.

09:29:18   8               THE COURT:    "Truth of public statements?"

09:29:19   9               MS. DeFORD:     Starting with "truth of public statements,

09:29:25 10     no statement of fact, litigation privilege, good faith

09:29:30 11     enforcement efforts, no knowledge of contract, no contract or

09:29:33 12     business relationship and no intent."

09:29:35 13                THE COURT:    You want to delete those two and half

09:29:35 14     lines.

09:29:37 15                MS. DeFORD:     Yes, to reflect the fact that the

09:29:39 16     counterclaims that those were asserted against have been removed

09:29:40 17     from this case.

09:29:43 18                THE COURT:    Okay.    I believe they have been.    Obviously

09:29:46 19     this was prepared before that ruling.

09:29:47 20                MS. DeFORD:     That's correct, Your Honor.

09:29:51 21                THE COURT:    Any legal objection to that?

09:29:55 22                MR. SCHWARTZ:     Not to that, Ms. DeFord's comments.

09:30:00 23     Just -- I don't know if you wanted to go to the next paragraph.

09:30:06 24                THE COURT:    Okay.    So we will delete starting with

09:30:10 25     "truth" and ending with "no intent".



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 10 of 51 10




09:30:11   1              MS. DeFORD:     That's correct.

09:30:15   2              THE COURT:    All right.     That will be done.   What is the

09:30:17   3    next -- what other objection is there?

09:30:19   4              MR. SCHWARTZ:     If we skip to the next sentence and then

09:30:26   5    go to the final paragraph, it's just the possessive where it

09:30:28   6    should say that "the Defendants."

09:30:36   7              THE COURT:    So you say it should be plural?

09:30:37   8              MR. SCHWARTZ:     Yes, please.

09:30:40   9              THE COURT:    On Page 9 where we are, the top of Page 9

09:30:44 10     it should read "Defendants and counterDefendant," and then on

09:30:47 11     the second line it should be "Defendants or counterDefendant."

09:30:51 12               MR. SCHWARTZ:     Correct.    And then I think on the third

09:30:56 13     sentence it should say "the only way" -- well, either, I guess

09:30:57 14     party, so that's fine.

09:30:59 15               THE COURT:    "Either" covers plural.

09:31:03 16               All right.    You had something else on that instruction?

09:31:05 17               MS. DeFORD:     Nothing else, Your Honor.     I would just

09:31:08 18     say that there are a couple of places where that preponderance

09:31:10 19     standard appears throughout these instructions.

09:31:12 20               THE COURT:    Your objection -- you have a standing

09:31:13 21     objection to that.

09:31:13 22               MS. DeFORD:     Thank you, Your Honor.

09:31:19 23               THE COURT:    All right.     Moving on then to Page 10, duty

09:31:25 24     to deliberate.    That's Eleventh Circuit pattern jury instruction

09:31:29 25     3.8.2.



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 11 of 51 11




09:31:36   1              Number 11, Page 11 is proposed jury instruction Number

09:31:47   2    26.   Yeah, I think this needs to be at the end of all of the

09:31:50   3    instructions.    And actually, I think that the one just before it

09:31:58   4    should be right before that.      In other words, Page 10 and Page

09:32:03   5    11 will be moved to the very end of the instructions just before

09:32:07   6    I tell them go back and here's the verdict form.         Okay?    It's

09:32:11   7    not the actually very end, but it's the penultimate page.           All

09:32:14   8    right?   We'll move those.

09:32:19   9              Then we get to Page 12.      I am not going to give

09:32:27 10     proposed jury instruction Number 27 because it's duplicative of

09:32:32 11     the instructions I'll already give, and I instruct the jury

09:32:35 12     after closing arguments.     I've done it before when the parties

09:32:40 13     ask, but I don't think it makes a hill of beans difference, but

09:32:43 14     I do it after the closing arguments.

09:32:46 15               All right.    Florida Standard Jury Instruction Number

09:32:51 16     700, which was proposed as Number 28, I think it's duplicative

09:32:54 17     of the instructions that I give at the close of the evidence and

09:32:58 18     it is, I give it after closing arguments anyway.

09:33:06 19               Page 14, juror questions during deliberations.          They

09:33:10 20     really weren't all that interested in asking jury questions.              In

09:33:15 21     fact, we probably would have to shock them out of their coma to

09:33:22 22     get them to concentrate to ask a question.        All right.     So I

09:33:24 23     will not give that.

09:33:27 24               Proposed jury instruction the Civil Allen Charge,

09:33:31 25     obviously that's not to be given at this point and may or may



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 12 of 51 12




09:33:38   1    not be given.    But I'll consider this at that time.       I'm not

09:33:44   2    going to even get into it at this point.        So that's 15 and 16,

09:33:50   3    pages.   That will be held in abeyance and we'll talk about it if

09:33:52   4    it becomes necessary.

09:34:01   5              Page 17, instructions upon discharge of the jury.           I

09:34:05   6    don't propose to give that.      I'll just walk in the jury room and

09:34:09   7    thank them.

09:34:20   8              Page 18, adopted as proposed by the whoever the

09:34:24   9    Plaintiff is, but I think they meant -- I think we meant

09:34:29 10     Plaintiff.    We misspelled Plaintiff.     With the Court's

09:34:32 11     modification, I note that the Plaintiff correctly states that

09:34:35 12     the analysis of liability for the federal, state and trademark

09:34:38 13     claims is the same.     The remaining instruction was modified to

09:34:42 14     conform with Eleventh Circuit pattern jury instruction 10.1,

09:34:48 15     including the language in section -- the damages instruction

09:34:53 16     language in 10.1 rather than the proposed jury instruction 43.

09:34:55 17               MS. DeFORD:    We have no objection to that, Your Honor.

09:34:58 18     The only thing, there are two modifications to this that we'd

09:35:04 19     ask the Court to make.     The first is on Page 18, and the very

09:35:07 20     end of the third line of the first paragraph where it starts

09:35:11 21     "and Florida," we'd ask that the Court refer to it as the

09:35:16 22     Florida Deceptive and Unfair Trade Practices Act so that it's

09:35:19 23     consistent with the verdict form that the jury will receive.

09:35:22 24               THE COURT:    All right.   So the verdict form, it says

09:35:24 25     Florida -- whatever you just said.



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 13 of 51 13




09:35:28   1               MS. DeFORD:     Yes, the long statement for the statute.

09:35:30   2               THE COURT:    Any objection to that.

09:35:32   3               MR. SCHWARTZ:     Where on the verdict form, Amanda?

09:35:36   4               MS. DeFORD:     It's Number 3.

09:35:40   5               THE COURT:    I don't want to lose my place, so you guys

09:35:45   6    look at it and tell me what you think.

09:35:50   7               MS. DeFORD:     It's just the full name of the statute for

09:35:53   8    our claim.

09:36:02   9               MR. SCHWARTZ:     I would object to that, Your Honor.

09:36:04 10                THE COURT:    Why?

09:36:06 11                MR. SCHWARTZ:     I think it's already in the caption of

09:36:10 12     the claim.     It's already on the verdict form.       To put it a third

09:36:10 13     time --

09:36:13 14                THE COURT:    No, I don't know if you heard me, but the

09:36:15 15     bold print will not go into the jury.

09:36:16 16                MR. SCHWARTZ:     Okay.

09:36:18 17                THE COURT:    In other words, I will delete all of those.

09:36:22 18     So what we want to say is what's in the last line of the bold

09:36:26 19     print, the second line of the bold print, Florida Deceptive and

09:36:32 20     Unfair Trade Practices Act Claims.          I'm sorry, Act.   Is that

09:36:34 21     correct?     That's what you want?

09:36:37 22                MS. DeFORD:     Yes, the Deceptive and Unfair --

09:36:40 23                THE COURT:    Florida Deceptive and Unfair Trade

09:36:41 24     Practices Act.

09:36:43 25                MS. DeFORD:     Correct.



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 14 of 51 14




09:36:44   1               THE COURT:    I think that's fair, and I'll put that in

09:36:50   2    there and the Florida Deceptive and Unfair Trade Practices Act.

09:36:55   3    Not law.   Delete law.     You got that, Jose?

09:36:56   4               MR. SCHWARTZ:     I do, thank you.

09:36:57   5               THE COURT:    We got it.   All right.

09:37:01   6               Next?   Anything else on that instruction?

09:37:05   7               MS. DeFORD:     Yes, Your Honor.     Starting on Page 21.

09:37:10   8               THE COURT:    Page 21.

09:37:11   9               MS. DeFORD:     This is the portion of the jury

09:37:14 10     instructions that tell the jury how to weigh the strength of the

09:37:17 11     trademarks at issue and the likelihood of confusion test.

09:37:18 12                THE COURT:    Right.

09:37:20 13                MS. DeFORD:     We had originally proposed removing the

09:37:29 14     generic and descriptive, suggestive and arbitrary and fanciful

09:37:33 15     explanations because they're long.        We don't have any objection

09:37:36 16     if the Court wishes to include them for completeness.         They're

09:37:39 17     just unnecessary in this case, because there's no allegation

09:37:44 18     that the Plaintiff's marks are not at least distinct.         I'm

09:37:46 19     sorry, inherently distinct.

09:37:48 20                THE COURT:    In other words, you don't think Nextel is

09:37:50 21     descriptive?

09:37:50 22                MS. DeFORD:     Correct.

09:37:52 23                THE COURT:    Or suggestive?

09:37:52 24                MS. DeFORD:     Correct.

09:37:56 25                THE COURT:    Or arbitrary or fanciful?      I think fanciful



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 15 of 51 15




09:37:59   1    or coined might work.

09:38:02   2              MS. DeFORD:     It's certainly within the spectrum of

09:38:06   3    suggestive or arbitrary, Your Honor.

09:38:08   4              THE COURT:     What does the defense think of that?      It

09:38:11   5    does make it at least three or four words shorter.

09:38:16   6              MS. DeFORD:     It's the portion starting on Page 21, Jim.

09:38:19   7              MR. KERNELL:     But what paragraph specific do you want

09:38:20   8    to leave in?

09:38:22   9              MS. DeFORD:     We're proposing to take out the

09:38:25 10     description of -- so there's conceptual strength and there's

09:38:28 11     commercial strength.      Our registrations give us a presumption

09:38:34 12     that they're at least descriptive with secondary meaning.          I'm

09:38:36 13     not arguing, I'm just trying to explain.

09:38:41 14               So paragraph A, paragraph B, paragraph C, paragraph D,

09:38:44 15     which would leave just paragraph E.

09:38:52 16               MR. SCHWARTZ:     I think all of this should stay, Your

09:38:54 17     Honor, in accordance with the pattern instructions.

09:38:57 18               THE COURT:     All right.   I'll keep it.    You can argue

09:39:00 19     it.   You can tell them it doesn't make any sense.

09:39:01 20               MS. DeFORD:     Not a problem, Your Honor.

09:39:02 21               THE COURT:     I don't have any problem with that.      All

09:39:03 22     right.

09:39:08 23               MS. DeFORD:     The last modification is on Page 26.      This

09:39:12 24     is for the paragraph that starts with the underlined

09:39:14 25     "Plaintiff's actual monetary damages."



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 16 of 51 16




09:39:15   1              THE COURT:     Yes.

09:39:18   2              MS. DeFORD:     We would propose removing that because the

09:39:21   3    Plaintiff is not seeking actual damages in this case.          We are

09:39:25   4    seeking statutory damages and a disgorgement of the Defendants'

09:39:29   5    profits, which is captured by the next part of that instruction.

09:39:32   6              THE COURT:     So you propose to delete the last five

09:39:34   7    lines of Page 26?

09:39:35   8              MS. DeFORD:     Yes.

09:39:37   9              THE COURT:     And the first two lines of Page 27.

09:39:38 10               MS. DeFORD:     That's correct.

09:39:41 11               THE COURT:     What does the Defendant think of that?

09:39:43 12     Seems to make sense.

09:39:44 13               MR. SCHWARTZ:     Yes.

09:39:46 14               THE COURT:     All right.    That will be deleted.    The last

09:39:50 15     starting with "Plaintiff's actual monetary damages," and ending

09:39:56 16     with "preponderance of the evidence" the second line.          Page 27.

09:40:00 17               MR. KERNELL:     Can we go back on Page 26?     It's in the

09:40:03 18     trademark section remedies.        "If you find that Sprint owns a

09:40:10 19     valid trademark, that Defendants have infringed it," and

09:40:12 20     Defendants do not.

09:40:16 21               MS. DeFORD:     I'm fine with those changes.

09:40:18 22               THE COURT:     Page 23, what is it?

09:40:20 23               MR. SCHWARTZ:     26, Your Honor.

09:40:21 24               THE COURT:     Oh, okay.

09:40:23 25               MR. KERNELL:     It's in the paragraph "trademarks,



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 17 of 51 17




09:40:31   1    remedies," it's just some wording or clearing up the -- so the

09:40:35   2    second "Sprint" in the first line should be "Defendants have."

09:40:37   3              THE COURT:     Well, the first line doesn't make any

09:40:41   4    sense.   "If you find that Sprint owns a valid trademark that

09:40:43   5    Sprint has infringed it."

09:40:47   6              MR. KERNELL:     Right.     So it should say "Defendants have

09:40:48   7    infringed it."

09:40:51   8              THE COURT:     "And do not have a defense, you must

09:40:54   9    consider whether and to what extent monetary relief."            Does that

09:40:58 10     make sense?     It really doesn't make sense the way it's written.

09:40:59 11               MS. DeFORD:     Yes, Your Honor, that should say

09:41:02 12     "Defendants."     I don't think we infringed our own mark, so we

09:41:04 13     are okay with that.

09:41:07 14               THE COURT:     "Defendant has infringed it and that they

09:41:18 15     do not have a defense, you must consider whether and to what

09:41:21 16     extent monetary relief."         All right, I want to read the

09:41:24 17     paragraph.    "If you find that Sprint owns a valid trademark,

09:41:28 18     that Defendant has infringed it and that the Defendant does not

09:41:32 19     have -- and that they do not have a defense, you must consider

09:41:35 20     whether and to what extent monetary relief should be awarded."

09:41:37 21               Is that fair?

09:41:39 22               MS. DeFORD:     That's correct, Your Honor, as long as

09:41:43 23     Defendants is referred to in the plural.

09:41:49 24               THE COURT:     Okay.     Thanks for catching that.     Next?

09:41:52 25               MR. SCHWARTZ:     One more, Your Honor.     On Page 20, the



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 18 of 51 18




09:41:53   1    first paragraph.

09:41:54   2                THE COURT:    What page?

09:41:55   3                MR. SCHWARTZ:       20.

09:41:59   4                THE COURT:    20.     Back to 20.     Okay.

09:42:01   5                MR. SCHWARTZ:       I just stepped back, just going through

09:42:02   6    my notes.

09:42:04   7                THE COURT:    I don't mind.        We need to get through it.

09:42:04   8    20.

09:42:05   9                MR. SCHWARTZ:       That first sentence.

09:42:06 10                 THE COURT:    First full paragraph.

09:42:09 11                 MR. SCHWARTZ:       Usually I'm dealing with just trademarks

09:42:13 12     where it says "written", but now it says "Defendants be exact

09:42:18 13     copies of Sprint's Nextel trademark or sound mark."

09:42:22 14                 THE COURT:    I don't know where you are on Page 20.

09:42:22 15                 MR. SCHWARTZ:       First line of the first paragraph.

09:42:23 16                 THE COURT:    First full paragraph?

09:42:25 17                 MR. SCHWARTZ:       Yes, please.     Yes.

09:42:27 18                 THE COURT:    "So it is not necessary," starts that

09:42:27 19     paragraph?

09:42:28 20                 MR. SCHWARTZ:       Yes.

09:42:30 21                 THE COURT:    "That the trademark used by the Defendants

09:42:35 22     be exact copies of Sprint's Nextel trademark or sound mark.

09:42:40 23     Instead, Sprint must demonstrate by the preponderance of the

09:42:44 24     evidence" -- okay.       What's wrong with that?

09:42:47 25                 MR. SCHWARTZ:       When you say the word "copies" as to



                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 19 of 51 19




09:42:55   1    written trademarks versus sound mark.

09:43:04   2              THE COURT:    I don't know -- well, so what's wrong with

09:43:06   3    exact copy of a sound mark?

09:43:08   4              MS. DeFORD:     There's nothing wrong with it, Your Honor,

09:43:11   5    it's the same standard that applies to both.         Infringement

09:43:15   6    doesn't require it to be an exact copy.        If it's close enough

09:43:18   7    that it causes confusion, it is infringing.         That applies

09:43:21   8    equally to a sound mark as it does to a trademark.

09:43:23   9              THE COURT:    I'm not going to change that.      I'll leave

09:43:28 10     it the way it is over objection.       All right?    Are we through

09:43:29 11     with Page 28?

09:43:42 12               Go to Page 29, trademark counterfeiting.

09:43:51 13               MR. SCHWARTZ:     Your Honor, we -- if you go to Page 30

09:43:51 14     --

09:43:53 15               THE COURT:    Okay.

09:43:55 16               MR. SCHWARTZ:     Where the language of the pattern

09:43:59 17     instruction is correct, when you go to the verdict form, we

09:44:04 18     believe that the statutory language about damages 1,000 and

09:44:09 19     200,000 should come first so the matching -- so it is

09:44:14 20     consistent, the instructions and the form should be consistent.

09:44:16 21               THE COURT:    Okay.   So what are you proposing?

09:44:19 22               MR. SCHWARTZ:     It's on Number 2 of the verdict form.

09:44:21 23               THE COURT:    Are you proposing to change the verdict

09:44:21 24     form?

09:44:24 25               MR. SCHWARTZ:     Yes, by simply switching the sentences



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 20 of 51 20




09:44:28   1    so that when they read it, the second sentence or the third

09:44:31   2    sentence where it says "if you find at the time of the

09:44:35   3    counterfeiting activity," dot, dot, dot, the damages are 1,000

09:44:40   4    and 200,000.      And then the next sentence would be "if you find

09:44:44   5    that it's willful," et cetera, you can go up to 2 million which

09:44:48   6    would be consistent with the instructions.

09:44:50   7              THE COURT:     So let's go to the verdict form.     What page

09:44:51   8    are we talking about?

09:44:52   9              MR. SCHWARTZ:     Page 2.

09:44:54 10               THE COURT:     Page 2.

09:44:58 11               MR. SCHWARTZ:     Paragraph 2.     And if you start with the

09:45:04 12     second sentence, that sentence should just be cut and pasted to

09:45:08 13     follow the next sentence.

09:45:12 14               THE COURT:     You want to flip flop "if you find" -- the

09:45:13 15     "if you find sentences."

09:45:14 16               MR. SCHWARTZ:     Correct.

09:45:15 17               THE COURT:     Any objection to that?

09:45:16 18               MS. DeFORD:     No objection, Your Honor.

09:45:18 19               THE COURT:     All right.     Would you do that, Jose,

09:45:21 20     please?   All right.     That's done.

09:45:32 21               Okay.     Next Page 31.

09:45:34 22               MS. DeFORD:     Your Honor, I would say that we should

09:45:37 23     probably make the same change to Paragraph 12 which is another

09:45:41 24     counterfeiting.      I'm sorry.     On the verdict form.

09:45:43 25               THE COURT:     On the verdict form?



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 21 of 51 21




09:45:45   1               MS. DeFORD:     Yes.     I apologize.     It's Paragraph 12 on

09:45:47   2    the verdict form, it's on Page 6.

09:45:48   3               THE COURT:     Yeah, we can flip it.

09:45:51   4               MS. DeFORD:     Just for consistency.

09:46:06   5               THE COURT:     Wait a second.     Let me see.        We'll change

09:46:09   6    it, but this is not as easy as flipping because you've got to

09:46:14   7    change the words.       But we'll change the words to flip the -- why

09:46:18   8    don't we flip it in the instruction?             Isn't it easier to flip it

09:46:20   9    in the instruction?

09:46:21 10                MR. SCHWARTZ:        No, Your Honor.

09:46:22 11                THE COURT:     No?     Why.

09:46:24 12                MR. SCHWARTZ:        We would like to be consistent with the

09:46:25 13     pattern.

09:46:30 14                THE COURT:     Okay.     All right.     Change the language and

09:46:34 15     show it to the parties.         We'll get it out to you this afternoon

09:46:38 16     so you can look at it and let us know.             All right?    All right.

09:46:43 17     I think you're correct, that 12 needs to be flipped if we did

09:46:43 18     the other one.

09:46:44 19                MS. DeFORD:     Thank you, Your Honor.

09:46:49 20                THE COURT:     Page 31, 10.5, trademark dilution.

09:46:56 21                MS. DeFORD:     We have no objection to the instruction,

09:47:00 22     Your Honor, except we would propose on Page 33 that the section

09:47:04 23     that starts with "Plaintiff's actual monetary damages" be

09:47:07 24     removed, because the Plaintiff is not seeking actual damages in

09:47:08 25     this case.



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 22 of 51 22




09:47:11   1                THE COURT:    Okay.      So the paragraph "Plaintiff's actual

09:47:14   2    monetary damages" --

09:47:14   3                MS. DeFORD:     Correct.

09:47:18   4                THE COURT:    Should be deleted at the end of Page 33.

09:47:21   5                MR. SCHWARTZ:     And then in hand in hand, the Defendants

09:47:24   6    would then say the balance of the instruction should come out

09:47:26   7    too since they go together.

09:47:27   8                THE COURT:    Defendants' profit and calculation of

09:47:28   9    profits?

09:47:30 10                 MR. SCHWARTZ:     Yes.

09:47:35 11                 MS. DeFORD:     I think we would object to that, Your

09:47:38 12     Honor.     We had proposed that originally and the Court, for the

09:47:41 13     consistency of the pattern instructions, did it this way.           These

09:47:44 14     are separate claims, they should have instructions on the

09:47:46 15     damages applicable to each claim.

09:47:47 16                 THE COURT:    Are you seeking profits?

09:47:49 17                 MS. DeFORD:     We are seeking profits, Your Honor.

09:47:52 18                 THE COURT:    Then I'll leave it.      Okay.   So the last

09:47:57 19     paragraph on Page 33 is deleted.          I think you guys better call

09:48:01 20     off the Guinness Book of World Records if you were going to try

09:48:03 21     to get the worlds longest instructions, because I don't think

09:48:09 22     they're going to be the world's longest instructions anymore.

09:48:13 23                 Okay.   Going to Page 35, defense claim of infringement

09:48:19 24     of a trademark.     This is the -- I'm rejecting your proposed 35

09:48:25 25     and going to Eleventh Circuit pattern jury instruction 10.3.



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 23 of 51 23




09:48:28   1               MR. SCHWARTZ:      Your Honor, third sentence, we think it

09:48:33   2    should say "because Sprint abandoned the" and the "Nextel"

09:48:37   3    should be capped to be consistent "trademark" and then add "for

09:48:39   4    devices," period.

09:48:39   5               THE COURT:      Where are you talking about?

09:48:43   6               MR. SCHWARTZ:      Third sentence on Page 35 of the first

09:48:43   7    paragraph.

09:48:45   8               THE COURT:      "Defendant has the burden of proving their

09:48:48   9    defense to trademark infringement?"

09:48:49 10                MR. SCHWARTZ:      No, Your Honor.     We're on --

09:48:51 11                THE COURT:      The third line you mean.

09:48:52 12                MR. SCHWARTZ:      Third line.     I'm sorry.

09:48:55 13                THE COURT:      Not the third sentence.     Okay.    "They are

09:48:59 14     not liable because Sprint abandoned the" --

09:49:01 15                MR. SCHWARTZ:      The it should say "the", and Nextel

09:49:05 16     should be all caps to be inconsistent, "trademark" for devices

09:49:07 17     to be again --

09:49:08 18                THE COURT:      What does the Plaintiff think of that?

09:49:10 19                MS. DeFORD:      We're okay with that change, Your Honor.

09:49:16 20                THE COURT:      Okay.   So the Nextel trademark.      "Defendant

09:49:19 21     has the burden of proving their defense to trademark

09:49:24 22     infringement."     Okay.    All right.      What else -- wait what else

09:49:26 23     you got.     Go ahead.

09:49:28 24                MR. SCHWARTZ:      In the paragraph where it's numbered

09:49:33 25     Number 1, it should -- where -- there's some times where it says



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 24 of 51 24




09:49:36   1    Sprint and sometimes where it says Plaintiff.

09:49:37   2              THE COURT:     You don't have to stand up for all of this

09:49:39   3    if you don't want to.

09:49:41   4              MS. DeFORD:     It's okay.     I've been sitting all week,

09:49:43   5    Your Honor.     It feels good to stand.

09:49:46   6              THE COURT:     You may sit if you wish.     I apologize,

09:49:47   7    Mr. Schwartz.

09:49:52   8              Okay, wait.     We want a clarification, what is it?

09:49:57   9    Which one are we talking about, the one just now?

09:50:00 10               LAW CLERK:     The one in the second sentence.

09:50:03 11               THE COURT:     Delete I-R.     In other words, "the."

09:50:08 12               MR. KERNELL:     And put Nextel in all caps.

09:50:11 13               THE COURT:     Okay.   Now we're back --

09:50:12 14               MR. SCHWARTZ:     I'm sorry.     And then "for devices."

09:50:18 15               MR. KERNELL:     After "trademark" put "for devices."

09:50:23 16               THE COURT:     Wait.   Are we talking about Page 35?

09:50:26 17               MR. SCHWARTZ:     We're still on Page 35.

09:50:27 18               THE COURT:     Okay.   And you're saying --

09:50:29 19               MR. SCHWARTZ:     In the Number 1 and Number 2 paragraphs,

09:50:32 20     to change where it says "Plaintiff," just change it to Sprint so

09:50:37 21     it's all consistent, and then there's a typo on the -- in the

09:50:42 22     one, two, three, four, fifth line, but at the very end there it

09:50:49 23     needs the "T".     And then again in paragraph item two where it

09:50:54 24     says "Plaintiffs" or "Plaintiff," that should be "Sprint" to be

09:50:55 25     consistent.



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 25 of 51 25




09:50:57   1              THE COURT:    So you want "Plaintiff" replaced with

09:51:00   2    "Sprint" everywhere?

09:51:03   3              MR. SCHWARTZ:     It seems to sound better if it's all

09:51:04   4    consistent.

09:51:05   5              THE COURT:    Any objection to that?

09:51:06   6              MS. DeFORD:     No objection, Your Honor.

09:51:08   7              THE COURT:    All right.     We can do "Sprint" instead of

09:51:11   8    "Plaintiff."

09:51:13   9              MS. DeFORD:     Are you done, Wayne?

09:51:14 10               MR. SCHWARTZ:     Yes.

09:51:16 11               MS. DeFORD:     Just a couple of comments on this

09:51:18 12     instruction from the Plaintiff, Your Honor.        Defendant needs to

09:51:23 13     be made plural in the second sentence of the instruction as well

09:51:26 14     as the third sentence.

09:51:27 15               THE COURT:    Where are we now?

09:51:30 16               MS. DeFORD:     This is the same instruction.     So in the

09:51:33 17     first paragraph it says "Defendant claims."

09:51:34 18               THE COURT:    "Defendants claim."

09:51:37 19               MS. DeFORD:     Uh-huh.    And then the same thing.

09:51:40 20               THE COURT:    The second line, "Defendants claim."       We

09:51:41 21     got it.

09:51:43 22               MS. DeFORD:     Then the same thing in the last line of

09:51:47 23     the first paragraph, "Defendant has the burden," it should be

09:51:50 24     "Defendants have the burden."

09:51:53 25               THE COURT:    All right.     "Defendants have the burden."



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 26 of 51 26




09:51:57   1    Okay.     Although we do have the plural in their defense.

09:51:58   2                MS. DeFORD:    And then we would ask the Court to take

09:52:02   3    out Paragraph 2.     There's no allegation in this case that our

09:52:06   4    mark or our rights have gone abandoned because they've become

09:52:10   5    generic.     The only allegations of abandonment in the case are

09:52:14   6    through nonuse, which is captured by Paragraph 1.

09:52:17   7                THE COURT:    Was there any allegation or proof that they

09:52:25   8    abandoned the -- that it's become a generic term?         I don't think

09:52:31   9    so.     So we'll delete Paragraph 2.    Now getting even shorter.     My

09:52:34 10     goodness, we'll be probably under --

09:52:35 11                 MS. DeFORD:    And then, Your Honor, I don't know if you

09:52:39 12     want to deal with this.      So the next one, we would have an

09:52:42 13     objection to both a defense of abandonment and a counterclaim of

09:52:48 14     abandonment being read because they're going to be entirely

09:52:52 15     duplicative of each other.      The defense is subsumed within their

09:52:53 16     counterclaim.

09:52:56 17                 THE COURT:    I know somebody was going to use the word

09:52:58 18     "subsume" sooner or later.

09:53:01 19                 MS. DeFORD:    I'm glad I could be the one to do that for

09:53:02 20     you.

09:53:03 21                 THE COURT:    That was wonderful.   Go ahead.

09:53:06 22                 MS. DeFORD:    But it is entirely duplicative of -- the

09:53:10 23     instructions are duplicative of each other, so we would say only

09:53:13 24     one should be read whether it's their defense or their

09:53:17 25     counterclaim, it doesn't matter much to us, but it shouldn't be



                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 27 of 51 27




09:53:20   1    read twice because it is the same thing.

09:53:21   2              MR. SCHWARTZ:     We would object, Your Honor, because one

09:53:24   3    is a defense and one is a counterclaim and we believe --

09:53:26   4              THE COURT:    Isn't it the same thing?

09:53:29   5              MR. SCHWARTZ:     The jury is only --

09:53:32   6              THE COURT:    If I tell the jury that it's both a

09:53:34   7    counterclaim and a defense.

09:53:36   8              MR. SCHWARTZ:     I think we have to trust that they can

09:53:40   9    understand it.    I think we should be entitled to see a defense

09:53:46 10     and then we have a counterclaim.       I think it's important.

09:53:51 11               MS. DeFORD:     They're truly entirely duplicative of each

09:53:54 12     other, Your Honor, and their counterclaim for cancellation of a

09:53:58 13     federal trademark registration, cancellation is not something

09:54:00 14     that the jury can order, that's something that the Court orders.

09:54:02 15     The court orders that on a finding of abandonment, not for the

09:54:02 16     jury to decide.

09:54:04 17               MR. SCHWARTZ:     The language is actually different, Your

09:54:10 18     Honor.   On the instruction 35, you say "if you find" and then

09:54:15 19     instruction Number 36 you say "I've instructed you to find."          So

09:54:17 20     there's some nuances, some differences.         I think they can

09:54:19 21     understand.

09:54:22 22               THE COURT:    It's the same person, it's them.      The jury.

09:54:23 23               MR. SCHWARTZ:     No, I'm saying --

09:54:26 24               THE COURT:    So if they find it, and I instruct them to

09:54:32 25     find it, there's no difference there.       What are the differences



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 28 of 51 28




09:54:39   1    in here?     Tell me what the differences are.

09:54:41   2               MR. SCHWARTZ:      Well, there's also additional language

09:54:46   3    in instruction 36 in the first paragraph where you talk about

09:54:50   4    "you must consider Defendants' claims that Sprint's

09:54:53   5    registrations are invalid."        That's not the language --

09:54:56   6               THE COURT:   But it's the same thing, isn't it?       Which

09:54:58   7    other one is it where is the other abandonment one?

09:55:00   8               LAW CLERK:   35, Judge.

09:55:01   9               THE COURT:   35?

09:55:03 10                LAW CLERK:   Page 35 as well.

09:55:06 11                THE COURT:   Page 35.

09:55:11 12                MR. SCHWARTZ:      Your Honor, the Court has knocked out

09:55:15 13     most of the claims and denied our earlier motion, I think in

09:55:18 14     fairness, to balance, we should simply -- we're talking about an

09:55:23 15     instruction, it has differences, and we think that the jury

09:55:26 16     should see one that says "defense" and one that says "a

09:55:30 17     counterclaim."     I just think that's fair and that's what we

09:55:33 18     would propose.

09:55:41 19                THE COURT:   No, I think the one to delete would be

09:55:47 20     Number 35.     Not the whole thing.

09:55:49 21                MR. SCHWARTZ:      We disagree with that, Your Honor.

09:55:49 22                THE COURT:   I understand.

09:55:50 23                MR. SCHWARTZ:      Respectfully.

09:55:53 24                THE COURT:   I understand that, but I'm trying to

09:55:56 25     streamline these unbelievably complex instructions, and I think



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 29 of 51 29




09:56:27   1    that -- hold on.    Let me just look at these two.       Yeah, I'm not

09:56:30   2    going to give both of these.      If there's any language -- and I

09:56:34   3    don't see any language in Page 35 that's not included in Page

09:56:41   4    36.   I mean --

09:56:44   5              MR. SCHWARTZ:     There's no language in 36 that says the

09:56:48   6    -- it doesn't use the correct language where it should say you

09:56:51   7    must consider Defendants' defense of abandonment.         And in the

09:56:56   8    top it says "defense."     So the caption should say defense and

09:57:00   9    counterclaims for -- if the Court, over objection, is going to

09:57:04 10     do that, then the title should be "defenses."

09:57:06 11               THE COURT:     There is no title.     I told you before.     The

09:57:07 12     titles are out.

09:57:09 13               MR. SCHWARTZ:     I'm sorry.   I'm sorry, Your Honor.

09:57:11 14               THE COURT:     It's only the content.     And if there is

09:57:15 15     anything in the language of on Page 35, which coincidentally

09:57:20 16     happens to be proposed jury instruction Number 35, that should

09:57:24 17     be included on Page 36, or proposed jury instruction Number 36,

09:57:28 18     I'll be happy to consider it.      I'm looking at it for that

09:57:31 19     purpose right now to see if anything should be added.         It does

09:57:34 20     look like there's --

09:57:35 21               MR. KERNELL:     Your Honor?

09:57:38 22               THE COURT:     It does look like --

09:57:40 23               MR. SCHWARTZ:     So okay, Your Honor, I understand.        So

09:57:50 24     on Page 36, first paragraph, Line 4, we should just add

09:57:54 25     "therefore" -- it flows from the third line, "therefore you must



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 30 of 51 30




09:58:11   1    consider Defendants," right here, "defense of" -- okay.          So Your

09:58:12   2    Honor, my colleague --

09:58:16   3              MR. KERNELL:     If I can go back to 35?

09:58:16   4              THE COURT:     Yes.

09:58:21   5              MR. KERNELL:     So in the second line and --

09:58:24   6              MR. SCHWARTZ:     Your Honor, we would like to leave 35

09:58:29   7    working off 35 and if we're going -- then, you know, if the

09:58:32   8    Court's inclined to combine this, then leave 35 the way it is

09:58:35   9    and --

09:58:37 10               MR. KERNELL:     So in the second line where it says "you

09:58:41 11     must consider Defendants," there I'd like to insert

09:58:56 12     "counterclaim and defense of abandonment."        Do you see where I'm

09:58:58 13     referring?

09:59:02 14               THE COURT:     Yeah, I'm trying to think of the language.

09:59:06 15     It seems to me that the way it should be dealt with is to say

09:59:09 16     "if you find that the Plaintiff has shown a likelihood of

09:59:13 17     confusion, you must consider Defendants' defense and

09:59:18 18     counterclaim" -- "and/or counterclaim of abandonment.         Defendant

09:59:21 19     claims that they are not liable because Sprint abandoned their

09:59:26 20     Nextel trademark.      Abandonment of a trademark is ground for the

09:59:30 21     cancellation of a trademark registration.        To prove abandonment"

09:59:37 22     -- and then it goes to the Number 1, not Number 2.

09:59:39 23               MR. KERNELL:     Yeah.   So saying "defense and

09:59:41 24     counterclaims" would be fine.

09:59:42 25               MR. SCHWARTZ:     Yes, that's fine, Your Honor.



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 31 of 51 31




09:59:53   1              THE COURT:    Hold on.    My brain is approaching me.

10:00:09   2              All right.    We're not going to do that, I'll tell you

10:00:15   3    why.   The defense of abandonment requires a likelihood of

10:00:21   4    confusion.     The counterclaim for abandonment does not require a

10:00:26   5    -- so I'm going to give both.       And I'm going to tell them, you

10:00:31   6    know, that -- and you can argue it however you want to, but

10:00:37   7    consider Defendants' defense of abandonment.        And then I'm going

10:00:49   8    to give -- make the same changes as far as plural Defendant, and

10:00:56   9    it is plural there.     It was done right on 36 so we don't have to

10:00:59 10     make any changes except to delete Number 2.        Is there any other

10:01:01 11     changes necessary there?

10:01:03 12               MS. DeFORD:     Your Honor, we would just -- I understand

10:01:06 13     the Court's ruling.     We maintain our objection to both being

10:01:09 14     read, but I understand it is your ruling.        Yes, you've got

10:01:12 15     Paragraph 2 being deleted.       To Counsel's point, I think you've

10:01:15 16     already addressed that Plaintiff will be changed throughout, but

10:01:19 17     it would need to be changed in Paragraph 1 to Sprint as well.

10:01:22 18               THE COURT:    Well, Page 36 doesn't have it that way.

10:01:24 19               MS. DeFORD:     In Paragraph 1 it does, Your Honor.      If

10:01:29 20     you look three lines up from the bottom of Paragraph 1, it says

10:01:34 21     "Plaintiff."

10:01:35 22               THE COURT:    On Page 36?

10:01:37 23               MS. DeFORD:     Yes.

10:01:39 24               MR. SCHWARTZ:     The numbered paragraph, Your Honor.

10:01:39 25               MS. DeFORD:     I apologize.



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 32 of 51 32




10:01:41   1               THE COURT:     Okay.    I got it.

10:01:43   2               MS. DeFORD:     Thank, you Wayne.

10:01:46   3               MR. KERNELL:     And also at the end of -- no.     The end of

10:01:53   4    Line 3 or the third line from the bottom of paragraph -- of

10:01:57   5    paragraph numbered one, it should be "but."          There's a "T"

10:01:58   6    missing.

10:02:02   7               THE COURT:     Yes.    It's a misspelled word.   I don't know

10:02:08   8    what it is.    But.     B-U-T.

10:02:09   9               MS. DeFORD:     Your Honor --

10:02:12 10                THE COURT:     One "T."

10:02:19 11                MS. DeFORD:     -- we would propose that there actually is

10:02:21 12     still a way to combine them.         I understand Your Honor's ruled,

10:02:26 13     but if you'll -- with indulgence, if you work off of 36, you can

10:02:32 14     have "I have instructed you to find that Sprint has a registered

10:02:35 15     trademark that is presumed to be valid, and Sprint enjoys

10:02:38 16     nationwide priority of rights and nationwide constructive notice

10:02:42 17     of rights.    If you find a likelihood of confusion, you must

10:02:45 18     consider Defendants' defense of abandonment."          And then you can

10:02:47 19     add on, you know, if even if you don't find a likelihood of

10:02:53 20     confusion, you must still consider there.

10:02:55 21                THE COURT:     That's longer than reading both of them,

10:02:55 22     never mind.

10:02:58 23                MS. DeFORD:     No problem, Your Honor.     In the first

10:03:01 24     non-numbered paragraph, the actual first paragraph of the

10:03:05 25     instruction, the second sentence from the bottom of paragraph



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 33 of 51 33




10:03:08   1    which says "Defendants' claim that Sprint's registrations," that

10:03:11   2    should be "registration."          There's only one abandonment claim

10:03:16   3    left in this case.        And we would ask that it be described as for

10:03:21   4    the "Nextel mark" and in parenthesis have US Registration Number

10:03:31   5    1,884,244 and that "are" be changed to "is."

10:03:34   6                THE COURT:     The Nextel mark and then registration

10:03:34   7    number?

10:03:37   8                MS. DeFORD:     And then the "are" would be changed to "is

10:03:37   9    invalid."

10:03:45 10                 THE COURT:     Yeah, "is invalid for the Nextel mark

10:03:46 11     registration number," whatever it is.

10:03:48 12                 MS. DeFORD:     Uh-huh.

10:03:50 13                 THE COURT:     "Is invalid because Sprint has abandoned

10:03:52 14     that trademark."

10:03:54 15                 MS. DeFORD:     Yes.    Thank you, Your Honor.

10:04:08 16                 THE COURT:     How about to clear up the -- Sprint --

10:04:13 17     numbered Paragraph 1, "Sprint discontinued the bonafide use of

10:04:20 18     its trademark and did so with the intent to not resume its use.

10:04:24 19     If you find that Sprint has not used the trademark for three" --

10:04:28 20     "you may presume that Sprint did not intend to resume use of the

10:04:32 21     trademark, but Sprint can rebut that presumption by producing

10:04:37 22     evidence that it intended to resume use."          Does that make a

10:04:40 23     little more grammatical sense?          Not that I'm a gramatician, but

10:04:41 24     whatever that word is.

10:04:48 25                 Okay.   Can we go on?      Page 37, I rejected proposed jury



                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 34 of 51 34




10:04:57   1    instruction Number 37.       Rejected Number 38.      Rejected Number 39.

10:05:00   2    Over your objection, I'm not going to give it.           Unclean hands

10:05:11   3    I'm rejecting on Page 41, and I think it's duplicative of 10.5.

10:05:13   4                MS. DeFORD:    Your Honor, on Page 41 we do have a

10:05:19   5    nonduplicative counterclaim for unfair competition and

10:05:22   6    designation of origin.       I understand the Court is rejecting

10:05:26   7    that, we would just like to preserve that for appeal.

10:05:28   8                THE COURT:    Okay.   You have.   I guess.    That's up to

10:05:33   9    them.     They're the ones that decide whether you've reserved it

10:05:34 10     or not.

10:05:39 11                 Okay.    Page 42, 10.7, trademarks, modified Eleventh

10:05:43 12     Circuit pattern jury instruction 10.7.         I added the website

10:05:48 13     domain names as proposed by Plaintiff to aid in the jury's

10:05:52 14     deliberation.       I included the damages language in 10.7 rather

10:05:56 15     than in proposed jury instruction 43.         I also propose moving

10:06:02 16     this instruction following Number 34.         And you guys look and see

10:06:08 17     which domain names are subject to the ACPA, the

10:06:14 18     Anticybersquatting Consumer Protection Act.           What a great name

10:06:16 19     for something.

10:06:17 20                 MS. DeFORD:    It's a very long name.

10:06:17 21                 THE COURT:    Yes, it is.

10:06:20 22                 MS. DeFORD:    I believe we've agreed on four, but we

10:06:22 23     have a dispute as to the fifth one that the Plaintiff would like

10:06:23 24     to have included.

10:06:24 25                 THE COURT:    Okay.   Tell me about it.



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 35 of 51 35




10:06:26   1              MS. DeFORD:      The four that we agreed to are

10:06:32   2    nextelworldwide.com, nextelisback.com,

10:06:43   3    nextelmobileworldwide.com, and nextelmobile.com.            The fifth one

10:06:46   4    that the Plaintiff states should be in this case is get

10:06:52   5    nextel.com.    That was read in as a stipulated fact that it was

10:06:54   6    registered by the Defendant RetroBrands in this case.

10:06:57   7              THE COURT:      Okay.    Why not include that?

10:06:58   8              MR. SCHWARTZ:      Simply put, Your Honor, Plaintiff's

10:07:04   9    trial Exhibit 155 reflects that get nextel.com is -- it's

10:07:08 10     registered by a nonparty.         So -- and the language talks about

10:07:13 11     registrant.    So to be consistent, we don't own that -- we don't

10:07:15 12     own that website.

10:07:16 13               MS. DeFORD:      So a couple reasons, Your Honor.       One, the

10:07:19 14     exhibit he just referred to is not in evidence.            What is in

10:07:22 15     evidence is a stipulated fact that they agreed to that

10:07:24 16     RetroBrands registered that trademark.

10:07:31 17               Two, the statute is not as narrow as my opposing

10:07:35 18     counsel is suggesting.      The statute allows for liability for

10:07:40 19     anyone who registers, traffics in, or uses a trademark.            And

10:07:41 20     there is evidence --

10:07:43 21               THE COURT:      I'll permit it.    I'll permit it.     Over

10:07:46 22     objection.    Go ahead.    Next.     So you'll include that, Jose.

10:07:54 23               There are seven in the instructions so we're getting

10:07:55 24     rid of the other two?

10:07:57 25               MS. DeFORD:      The Plaintiff is dropping the other two.



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 36 of 51 36




10:07:58   1    Thank you.

10:08:01   2                THE COURT:    Okay.     You have -- which ones they are?

10:08:03   3    All right.     Repeat which ones they are now.

10:08:06   4                MS. DeFORD:     Sure.    So we are -- in the case would be

10:08:12   5    nextelworldwide.com, nextelisback.com,

10:08:23   6    nextelmobileworldwide.com, getnextel.com, and nextelmobile.com.

10:08:27   7                THE COURT:    Okay. So that deletes nextelcentral.com?

10:08:28   8                MS. DeFORD:     Yes.

10:08:37   9                THE COURT:    And nextelcommunications.com.     Okay?   All

10:08:39 10     right.   Next?

10:08:50 11                 We move on to Page 46, 47.

10:08:52 12                 MR. SCHWARTZ:     Just -- Your Honor, just to point out

10:08:56 13     that on Page 45, the names pop up again.

10:09:00 14                 THE COURT:    Yeah, we'll delete them, we'll do a general

10:09:01 15     delete of those names.

10:09:08 16                 Okay.   Page 47, proposed jury instruction Number 43,

10:09:13 17     remedies.     You can see my notes there.

10:09:20 18                 Moving on to 48, based on my oral rulings, I think

10:09:21 19     we're done.

10:09:27 20                 49, same thing and 50, same thing.

10:09:29 21                 MR. SCHWARTZ:     One further comment, Your Honor.

10:09:30 22                 THE COURT:    Yes, sir.

10:09:33 23                 MR. SCHWARTZ:     On Page 46 which has the correct

10:09:39 24     language about that they may award statutory damages.         To be

10:09:42 25     consistent, the verdict form --



                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 37 of 51 37




10:09:45   1                THE COURT:    Okay.   No, we'll go to the verdict form

10:09:57   2    now.    Let's talk about the verdict form.        Court's proposed

10:10:02   3    verdict form.    I propose that it be done this way to make it as

10:10:11   4    short as possible, but I'm certainly willing to listen.

10:10:15   5                Number 1, "did Plaintiff prove by a preponderance of

10:10:19   6    the evidence that the Defendants are liable on Plaintiff's

10:10:22   7    trademark counterfeiting claim with respect to the Nextel

10:10:26   8    trademark number," let's just say 244.          And then there's a "yes"

10:10:32   9    or "no" for Stephen Calabrese, Nextel, RetroBrands, Jeffrey

10:10:35 10     Kaplan and Nextel Mobile Worldwide.          What happened to the other

10:10:40 11     dude?    Garcia, or whatever his name was?

10:10:41 12                 MR. SCHWARTZ:    He's not a named party.

10:10:43 13                 THE COURT:    Okay.   That's right.    I wouldn't even let

10:10:46 14     him talk.    Okay.

10:10:47 15                 MR. SCHWARTZ:    Not today.

10:10:51 16                 THE COURT:    So those five.     "If you answered yes to any

10:10:53 17     Defendant, proceed to Question 2.          Based on your finding that

10:10:58 18     the Defendant is or multiple Defendants are liable on

10:11:04 19     Plaintiff's claim for 244, you shall award statutory damages.

10:11:07 20     If you find that at the time the counterfeiting activity the

10:11:11 21     Defendant or multiple' -- do we want to switch these back like

10:11:16 22     the other one?       Oh, this is the right order.     This is the order

10:11:18 23     we switched the other ones for.

10:11:22 24                 LAW CLERK:    You have what we didn't switch.     It's --

10:11:25 25                 THE COURT:    Oh, it's already switched.     So which one is



                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 38 of 51 38




10:11:27   1    first?

10:11:30   2                THE CLERK:     1,000 and 200,000.

10:11:32   3                THE COURT:     So the one that is actually numbered four

10:11:36   4    will actually be numbered --

10:11:40   5                THE CLERK:     No.

10:11:44   6                (Court conferring)

10:11:47   7                THE COURT:     Wait a second.     I want to get the new one

10:11:50   8    so I don't have a problem with this.           Print three copies so they

10:12:03   9    each have one.    I love charge conferences, almost as much as

10:12:03 10     sidebars.

10:12:07 11                 MR. SCHWARTZ:        Your Honor, I think to be consistent --

10:12:09 12                 THE COURT:     Well, wait.     This isn't the form.   We're

10:12:12 13     getting the form.        We're having it printed up.     He changed it

10:12:15 14     already -- based on what we talked about earlier, he changed it,

10:12:19 15     so he's printing up three copies right now so each side will

10:12:23 16     have a copy and I'll have a copy.           I'm not having him print five

10:12:29 17     copies, So you have to share.          I know lawyers are not good at

10:12:33 18     sharing, but we're going to try.

10:13:09 19                 (In-place recess)

10:14:25 20                 THE COURT:     Give you a few minutes to go through that,

10:14:31 21     see what changes, how we managed to screw it up again.            I don't

10:15:15 22     think there's that many changes to it, but looking at the

10:15:20 23     Court's proposed verdict form, we remind them that it's

10:15:23 24     unanimous, and the first paragraph, as we said, was "did

10:15:27 25     Plaintiff prove", same as it was, "prove by a preponderance of



                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 39 of 51 39




10:15:31   1    the evidence that the Defendants are liable on the

10:15:33   2    counterfeiting claim with respect to the Nextel trademark Number

10:15:39   3    244," and then each lists the five Defendants.        "If you answered

10:15:42   4    yes to any Defendant, proceed to Question 2.        Question 2, based

10:15:46   5    on your finding that a Defendant is or multiple Defendants are

10:15:57   6    liable on Plaintiff's claim for trademark counterfeiting of 244,

10:16:01   7    you shall award statutory damages.       If you find that at the time

10:16:05   8    of the counterfeiting activity Defendants did not know they were

10:16:09   9    counterfeits, you may award statutory damages between 1,000 and

10:16:15 10     200,000 per type of goods sold, offered or distributed."           And

10:16:19 11     the answer goes there.

10:16:22 12                Question 3, "did Plaintiff prove by a preponderance of

10:16:24 13     the evidence that the Defendants are liable on Plaintiff's claim

10:16:32 14     for trademark infringement under the Lanham Act, Florida Common

10:16:36 15     Law or the Florida Deceptive" -- or the FDUTPA, whatever that

10:16:39 16     is.    With respect to Nextel trademark 244.      Same Defendants.

10:16:47 17     "If you answered yes to any Defendant, proceed to Question 4.

10:16:51 18     If you answered know to all Defendants, proceed to Question 5.

10:16:56 19     Based on your finding, what is the monetary damage."

10:16:59 20                Question 5, "did the Plaintiff prove by a preponderance

10:17:02 21     of the evidence that the Defendants are liable on Sprint's claim

10:17:06 22     for unfair competition and false designation of origin with

10:17:11 23     respect to 244.    If you answered yes as to any Defendant,

10:17:15 24     proceed to Question 6.     If you answered no, proceed to Question

10:17:22 25     7.    Based on your finding, what's the monetary amount which



                           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                  TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 40 of 51 40




10:17:26   1    should be awarded to Sprint.      Proceed to Question 7.      If you

10:17:31   2    find that based     -- the Defendants' use of the Nextel trademark

10:17:35   3    is likely to dilute 244," and then yes or no.          "If you answered

10:17:41   4    yes to any Defendant, go to Question 8."

10:17:44   5              MS. DeFORD:     Your Honor, on Question 7, the Plaintiff's

10:17:48   6    would propose talking out, in the second sentence, "after likely

10:17:49   7    to dilute."

10:17:50   8              THE COURT:     Yeah.

10:17:53   9              MS. DeFORD:     We would propose taking out "the

10:17:58 10     distinctiveness."      Plaintiff has a dilution claim that is both

10:18:04 11     by blurring and tarnishment.      One diminishes the reputation, the

10:18:05 12     other one diminishes the distinctiveness.         So to simplify it for

10:18:08 13     the jury, we would propose just saying "likely to dilute

10:18:12 14     Plaintiffs Nextel trademark.".

10:18:19 15               THE COURT:     You want to delete "the distinctiveness."

10:18:22 16               MS. DeFORD:     "The distinctiveness of," yes.

10:18:23 17               THE COURT:     Any objection?

10:18:25 18               MR. SCHWARTZ:     They want to delete the entire Number 7?

10:18:28 19               THE COURT:     No, they want to delete the two words, "the

10:18:34 20     distinctiveness."      "Likely to dilute Plaintiff's Nextel

10:18:38 21     trademark" because dilute includes two things.          Distinctiveness

10:18:40 22     and blurring, correct?

10:18:42 23               MS. DeFORD:     It's tarnishment, Your Honor.

10:18:44 24               THE COURT:     Tarnishment.     Excuse me.   I don't do a lot

10:18:47 25     of silver work so I didn't know.



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 41 of 51 41




10:18:49   1                MR. SCHWARTZ:     I wouldn't want to give them two bites

10:18:52   2    at the apple.    It seems like seven and eight would be exactly

10:18:55   3    the same.

10:18:56   4                MS. DeFORD:     The eight is the monetary.

10:19:00   5                THE COURT:    Eight is the monetary amount.

10:19:01   6                MR. SCHWARTZ:     I'm sorry, Your Honor.      I was working at

10:19:03   7    1 in the morning.

10:19:05   8                THE COURT:    Yeah.    I can understand.   I was sleeping.

10:19:12   9    I'll delete the words "the distinctiveness of."           Actually three

10:19:17 10     words.   Okay.   Then eight is the number.

10:19:20 11                 Number 9, "you find based on a preponderance of the

10:19:23 12     evidence that Defendants are liable on the claim of

10:19:28 13     cybersquatting with respect to Trademark 244.          Yes or no.   If

10:19:34 14     you answered yes, what's the amount in the range of 1,000 to

10:19:39 15     $100,000 per domain."

10:19:46 16                 Question 11, "Plaintiff prove liable with respect to

10:19:52 17     sound mark 282."     I'm just going to say "sound mark."        It's the

10:19:56 18     only sound mark at issue.         Same five Defendants.    If you

10:19:59 19     answered yes to any Defendant --

10:20:00 20                 MR. SCHWARTZ:     We have to step back, I'm sorry, Your

10:20:04 21     Honor, to Number 10.        This is where I mentioned earlier in order

10:20:07 22     to be consistent with the pattern instruction and the jury

10:20:11 23     instruction, the language of Number 10 it should not say

10:20:19 24     "shall," it should say "you may" in Line 2 at the end and then

10:20:19 25     --



                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 42 of 51 42




10:20:24   1              THE COURT:    I thought that if they found that they had

10:20:27   2    in fact done that, they were supposed to do the statutory

10:20:31   3    damages, they could go from the low to the high, but they had

10:20:33   4    to, didn't they?

10:20:36   5              MR. SCHWARTZ:     The pattern instruction says "may."      I'm

10:20:41   6    just going by that.     I could pull out the --

10:20:43   7              THE COURT:    All right.     The pattern instruction saying

10:20:45   8    "may," what's wrong with "may" then?

10:20:48   9              MS. DeFORD:     Your Honor, if you'll give me one brief

10:20:52 10     indulgence, I'm trying to get the statute for you because the

10:20:54 11     statute should control over pattern jury instructions.

10:20:57 12               THE COURT:    I agree.     That's what you're paying Dan the

10:21:08 13     big bucks for, to find the statute for you.        Good job, Dan.    Let

10:21:12 14     the record reflect that Dan picked up the little book and gave

10:21:15 15     it to her.    Not even a big book.

10:21:17 16               MS. DeFORD:     Your Honor, we would dispute that and say

10:21:20 17     that the statute is clear that we are entitled to at least

10:21:24 18     $1,000 in statutory damages if liability is found.         The way the

10:21:28 19     statute reads is "in a case involving a violation of Section

10:21:35 20     1125(d)(1) of this title, the Plaintiff may elect at any time

10:21:39 21     before final judgment is rendered by the trial court to recover,

10:21:42 22     instead of actual damages and profits, an award of statutory

10:21:47 23     damages in the amount of not less than 1,000 and not more than

10:21:51 24     100,000 per domain as the court considers just."

10:21:57 25               THE COURT:    I will leave "shall" over objection, okay?



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 43 of 51 43




10:22:05   1    Then we go to 12.      Is that also shall?

10:22:07   2              MS. DeFORD:     It is also -- it's the same language, I

10:22:09   3    believe, of not less, Your Honor.       I can pull it back up.     It's

10:22:11   4    in the same section of the statute.

10:22:14   5              THE COURT:     Then we need to change the word "may" in

10:22:19   6    the fourth line to "you shall" between --

10:22:24   7              MR. KERNELL:     Your Honor, the statute doesn't use the

10:22:25   8    word "shall."

10:22:27   9              THE COURT:     But it says it's a minimum of a thousand to

10:22:31 10     a maximum of -- it says -- what does it say?

10:22:32 11               MS. DeFORD:     It says not less, Your Honor.

10:22:37 12               THE COURT:     Not less than $1,000.     So that means to me

10:22:46 13     that they shall award at least $1,000.        If there's a minimum

10:23:19 14     mandatory, that's what it means I think.         I'm not adding it in

10:23:23 15     the penultimate -- well, it's the third line from the end, then

10:23:27 16     you may award statutory damages to a maximum of $2 million

10:23:30 17     because they don't have to award $2 million.

10:23:32 18               MS. DeFORD:     I'd agree with that, Your Honor.

10:23:35 19               THE COURT:     Okay.   All right.   Next is Question 13.

10:23:45 20     Sprint prove liable trademark infringement as to sound mark on

10:23:50 21     Florida Deceptive and Unfair Trade, and if they say yes, they

10:23:58 22     have to go to 14.      What does the Florida Act say, "may"?

10:24:02 23               MS. DeFORD:     This is not -- these claims are not

10:24:06 24     statutory damages, Your Honor.      They require additional proof.

10:24:12 25               THE COURT:     Okay.   So they have to find.    What is the



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 44 of 51 44




10:24:15   1    monetary amount you should find should be awarded.         All right.

10:24:24   2    Then 15 is sound mark, unfair competition and false designation.

10:24:31   3    What is the monetary amount you find should be awarded.          And

10:24:36   4    then at the end, "do you find the Defendants proved by a

10:24:39   5    preponderance of the evidence that Plaintiff had abandoned

10:24:43   6    Nextel trademark by stopping all use with an intent not to

10:24:49   7    resume use," yes or no on the sound mark.

10:24:51   8              MS. DeFORD:     On this one, Your Honor, to the extent

10:24:54   9    that the Eleventh Circuit's going to want me to raise an

10:24:56 10     objection to the verdict form, we object to the preponderance

10:24:59 11     standard on their abandonment defense, and I'd also ask that the

10:25:05 12     Court add "its" between "abandoned" and "Nextel."         "The

10:25:12 13     Plaintiff has abandoned its Nextel trademark."        May not be

10:25:12 14     necessary --

10:25:14 15               THE COURT:    No, I don't think it is necessary and I

10:25:19 16     think that that -- no, I won't put that in.        All right.

10:25:19 17     Anything else?

10:25:20 18               MR. SCHWARTZ:     Your Honor? Yes, Your Honor.     I didn't

10:25:24 19     want to stop you in terms of the flow, but after each --

10:25:25 20               THE COURT:    What flow?

10:25:28 21               MR. SCHWARTZ:     Well, the sort of flow.

10:25:28 22               THE COURT:    Go ahead.

10:25:33 23               MR. SCHWARTZ:     After the jury answers Number 1, before

10:25:39 24     it directs to Number 2, it has to direct them to address the

10:25:44 25     issue of our defense which is -- so it needs an instruction, it



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 45 of 51 45




10:25:50   1    needs a special line that says Sprint has abandoned its

10:25:55   2    trademark, answer yes or no, and then if they answer yes, it

10:25:59   3    redirects them past the damages to the next question.         You

10:26:03   4    cannot have them filling out a whole form with damages and then

10:26:07   5    get to the end and say oh, they abandoned.

10:26:10   6                THE COURT:    Why not?   Because at the end if they do

10:26:15   7    that, then it's easier for me to write it off than it is for

10:26:16   8    them.

10:26:19   9                MR. SCHWARTZ:     I think it's confusing.   It will confuse

10:26:24 10     the jury.     I think they have to understand that before they

10:26:28 11     start awarding money, they have to consider the defense and

10:26:32 12     counterclaim, and there has to be a direction and it's a very

10:26:36 13     simple -- from the pattern instructions, it's Number 9.          It just

10:26:38 14     says, like I described, Sprint has abandoned its trademark --

10:26:42 15                 THE COURT:    Do you think that Number 17 should be the

10:26:46 16     first question then?

10:26:48 17                 MS. DeFORD:     We would dispute that.

10:26:50 18                 MR. SCHWARTZ:     No, Your Honor.   It should be after each

10:26:50 19     one.

10:26:53 20                 THE COURT:    Oh no, I'm not going to ask them 17 times.

10:27:03 21     No.     That's not happening.    Does abandonment defeat all claims?

10:27:04 22                 MS. DeFORD:     Yes, it does, Your Honor.

10:27:07 23                 THE COURT:    So why isn't it the first question?

10:27:10 24                 MR. SCHWARTZ:     Put it first and it jumps to the end.

10:27:12 25                 MS. DeFORD:     I'm sorry, Your Honor.   I misspoke, it



                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 46 of 51 46




10:27:16   1    does not.    Our unfair competition survives even if we've

10:27:18   2    abandoned the mark.

10:27:20   3                THE COURT:     Okay.   Then we need to re-shuffle these to

10:27:25   4    deal with abandonment.        Well, first of all, with the unfair

10:27:34   5    competition claims and then go to abandonment and then go to

10:27:39   6    individual claims.        That seems kind of confusing, but it might

10:27:40   7    be a more accurate --

10:27:43   8                MS. DeFORD:     I think the way the Court has it is the

10:27:46   9    more traditional way that verdict forms usually read.         You

10:27:50 10     usually go through the Plaintiff's claims in their completion

10:27:54 11     first before you get to Defendants' claims and defenses, and I

10:27:57 12     would say that I think that the way that this is worded is

10:28:01 13     correct.    To have the Defendants have to repeat, even more than

10:28:04 14     once, the issue of whether there's been abandonment creates a

10:28:06 15     risk for inconsistent verdicts.

10:28:09 16                 THE COURT:     I'm not going to repeat it a bunch of

10:28:14 17     times, but if they say you did abandon it, then that cuts out an

10:28:16 18     awful lot of them, doesn't it?

10:28:18 19                 MS. DeFORD:     Yes, it does, Your Honor.

10:28:24 20                 THE COURT:     Then we can -- you know what, leave it

10:28:29 21     where it is.    If they find that it has been abandoned, I'll go

10:28:32 22     back and I'll knock all of those out.

10:28:33 23                 MS. DeFORD:     I think that's appropriate, Your Honor.

10:28:36 24                 THE COURT:     That's what I think is part of my job.

10:28:37 25                 MR. SCHWARTZ:     Your Honor, I have to respectfully



                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 47 of 51 47




10:28:42   1    disagree with that way of doing it because they shouldn't be

10:28:46   2    writing down amounts and dollars, and then not understand they

10:28:50   3    get to the end, and then they're going to be confused and asking

10:28:50   4    us questions.

10:28:53   5              THE COURT:    You could get lucky and they could say oh,

10:28:58   6    yeah fine, but let me throw the Defendants a bone.

10:28:59   7              MR. SCHWARTZ:     The simplest way, Your Honor, is to put

10:29:01   8    the question first.

10:29:03   9              THE COURT:    But it doesn't affect all of them.

10:29:05 10               MR. SCHWARTZ:     No, but then it will direct it to the

10:29:09 11     one they say still is there, and then they can go on from there.

10:29:11 12     And this way it jumps over --

10:29:14 13               THE COURT:    Which are not affected by abandonment?

10:29:17 14               MS. DeFORD:     It's the federal unfair competition claim,

10:29:20 15     Your Honor.     But to address an additional point, the Court took

10:29:24 16     our judgment as a matter of law motion on abandonment under

10:29:28 17     advisement, so if the Court decides after a verdict is reached

10:29:31 18     that we -- there was enough evidence to take that issue from the

10:29:35 19     jury, we would still want all of their decisions on all of the

10:29:35 20     claims.

10:29:37 21               THE COURT:    I'll leave it the way it is.      I don't think

10:29:38 22     it's confusing at all.

10:29:41 23               All right.    Anything else we need to talk about?

10:29:42 24               MS. DeFORD:     One more thing from the Plaintiff's side,

10:29:48 25     Your Honor.     Given the Court's ruling on instruction Number 41,



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 48 of 51 48




10:29:52   1    which is to say that our federal unfair competition claim and

10:29:58   2    the false designation of origin claim, which are separate counts

10:30:01   3    in our complaint is going to be subsumed within the instructions

10:30:06   4    in proposed jury instruction Number 32, we would ask the Court

10:30:09   5    to add a reference to those claims in the instructions so that

10:30:12   6    the jury understands that those claims govern that portion of

10:30:13   7    the verdict form.

10:30:17   8              THE COURT:    How do you propose to do that?      Give me a

10:30:17   9    suggestion.

10:30:18 10               MS. DeFORD:    This is on Page 18.

10:30:20 11               THE COURT:    Okay.

10:30:21 12               MS. DeFORD:    Where it says "Sprint claims that the

10:30:28 13     Defendants have infringed its registered Nextel trademark and

10:30:32 14     sound mark under federal law," I would take out the part and

10:30:35 15     just have it say "under federal law, under common law and the

10:30:39 16     Florida Deceptive and Unfair Trade Practices Act" and then

10:30:41 17     create a new sentence.

10:30:43 18               THE COURT:    Where are you talking about?

10:30:46 19               MS. DeFORD:    Page 18, the very first paragraph.

10:30:48 20               THE COURT:    Okay.   What line?

10:30:51 21               MS. DeFORD:    So starting on Line 2, where it says

10:30:55 22     "trademark and sound mark under federal law," I would take out

10:31:03 23     "and that the Defendants have also infringed Sprint's registered

10:31:05 24     Nextel trademark," just take out that part and just have it read

10:31:08 25     "under federal law, common law and the Florida Deceptive and



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 49 of 51 49




10:31:11   1    Unfair Trade Practices Act."

10:31:16   2              It would then go on to say that "Sprint also claims

10:31:23   3    that Defendants have committed acts of unfair competition and

10:31:29   4    false designation of origin under federal law."

10:31:31   5              MR. SCHWARTZ:     We would object to adding that extra

10:31:32   6    language, Your Honor.

10:31:34   7              MS. DeFORD:     It was their objection, Your Honor, where

10:31:36   8    they said it was duplicative.      If they think it's duplicative,

10:31:39   9    it needs to be part of this.      They can't read a claim out of our

10:31:42 10     jury instructions.

10:31:47 11               MR. SCHWARTZ:     I think we should just leave it as is,

10:31:49 12     Your Honor, instead of all this editing.

10:31:57 13               THE COURT:    You propose that under federal law and --

10:32:03 14     Jose, do you have what their proposal is?

10:32:06 15               LAW CLERK:    I need to finish typing it out.      Sort of.

10:32:09 16               THE COURT:    Okay.   Repeat what you want.     Read the

10:32:12 17     entire first paragraph the way you would like it.         Your dream

10:32:14 18     paragraph.

10:32:17 19               MS. DeFORD:     I think my dream paragraph would be a

10:32:20 20     little more slanted towards my client.

10:32:23 21               "Sprint claims that the Defendants have infringed its

10:32:28 22     registered Nextel trademark and sound mark under federal law,

10:32:32 23     common law and the Florida Deceptive and Unfair Trade Practice

10:32:38 24     Act.   Sprint also claims that Defendants have engaged in acts of

10:32:43 25     unfair competition and false designation of origin under federal



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 50 of 51 50




10:32:45   1    law."

10:33:09   2              THE COURT:     I think that's a fair opening statement.

10:33:11   3    I'll permit it over your objection.

10:33:11   4              MS. DeFORD:     Thank you, Your Honor.

10:33:15   5              And then the last thing, just to make sure that my

10:33:18   6    preservation on 41 is clear, we provided reasons when we filed

10:33:20   7    -- we provided authority in support of that instruction, and so

10:33:24   8    I would just refer to that authority to not waste the Court's

10:33:27   9    time in arguing something the Court has already decided, but

10:33:29 10     just for noting that for appeal.

10:33:32 11               THE COURT:     Okay.   Thank you for saving me a little

10:33:33 12     time.

10:33:38 13               Anything else?     If not, thank you.    We will send out

10:33:46 14     the modified jury instructions and proposed verdict form and

10:33:52 15     verdict form to you today.       If you have any problem with it,

10:33:57 16     please send it back and we'll look at it over the weekend and

10:34:02 17     talk to you about it Monday at noon.

10:34:04 18               Be ready to go with your final arguments.        You have 45

10:34:11 19     minutes each side.      Plaintiff may open and close, but it's total

10:34:22 20     45 minutes.    As I told you, the green light over here will go on

10:34:28 21     until there's green -- warning light will start flashing when

10:34:35 22     there's two minutes to go to your thing.        It will -- I'm sorry.

10:34:39 23     Yeah.   When there's two minutes to go.      Yellow light will come

10:34:43 24     on when there's one minute to go, the red light will come on

10:34:48 25     during your opening closing.       I will not stop you, you just keep



                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                 TRANSCRIPT PRODUCED BY COMPUTER
    Case 0:18-cv-60788-JEM Document 325 Entered on FLSD Docket 05/11/2022 Page 51 of 51 51




10:34:53    1   going if you want.        I have another timer which will tell you how

10:34:58    2   much of your rebuttal time you're using up, but your total time

10:35:00    3   is 45 minutes.

10:35:02    4               MR. RIOPELLE:     Just to confirm, you're going to read

10:35:03    5   the jury instructions after the closings, correct?

10:35:06    6               THE COURT:     Correct.   All right.   Anything else?

10:35:07    7               MS. DeFORD:     Nothing from the Plaintiff.

10:35:10    8               THE COURT:     If not, have a nice weekend, see you all

10:35:10    9   Monday.

10:35:12 10                 MR. SCHWARTZ:     Happy holidays.

10:35:14 11                 THE COURT:     The same to you.

10:35:14 12                 (See Volume 8 for continuation)

10:35:14 13                           C E R T I F I C A T E
                I certify that the foregoing is a correct transcript from the
10:35:14 14     record of proceedings in the above-entitled matter.

10:35:14 15     4/15/2022                   /s/ Dawn M. Savino, R.P.R., C.R.R.
                Date                            DAWN M. SAVINO, R.P.R., C.R.R.
10:35:14 16

10:35:14 17

           18

           19

           20

           21

           22

           23

           24

           25




                            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                                   TRANSCRIPT PRODUCED BY COMPUTER
